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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :       Case No. 22-cr-392 (DLF)
               v.                            :
                                             :
ABU AGILA MOHAMMAD                           :
MAS’UD KHEIR AL-MARIMI                       :
                                             :
                                             :
                      Defendant.             :


   JOINT UPDATE TO THE COURT AND UNOPPOSED MOTION TO CONTINUE
                        STATUS CONFERENCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully requests that the Court continue the status conference

presently set for May 8, 2025, to May 15, 2025, if that date is available for the Court. In support

of this motion, the government states as follows:

        On April 8, 2025, the Court held a status conference, where the defendant’s health was

discussed. The Court directed the U.S. Marshals Service (USMS) to file an update regarding the

defendant’s health by April 29, 2025. See Minute Order dated April 8, 2025. The Court directed

the government and defense to file a joint status report under seal, on or before May 2, 2025,

addressing whether the May 8, 2025, status conference is necessary. See Minute Order dated April

8, 2025. USMS provided an update to the Court on April 29, 2025, with an additional update on

May 1, 2025.




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       Accordingly, the government proposes vacating the status conference presently scheduled

for May 8, 2025, and rescheduling it for May 14, 2025, if that date is convenient for the Court.

The parties submit that it would be useful to have a representative of USMS available at that

hearing. The parties are also available in the afternoon on that date, but would prefer a morning

hearing if possible.

       Undersigned counsel have conferred with Whitney Minter and Todd Richman, Esqs.,

counsel for the defendant, and Ms. Minter informed undersigned counsel that the defense does not

oppose continuing the presently scheduled status conference until May 14, 2025.




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       WHEREFORE, for the foregoing reasons, and any additional reasons as may be cited at a

hearing on this motion, the government requests that this motion be GRANTED, and that the Court

sign the attached proposed order.



                                                    Respectfully submitted,

                                                    EDWARD R. MARTIN, JR.
                                                    UNITED STATES ATTORNEY
                                                    D.C. Bar No. 481866


                                                    /s/ Erik M. Kenerson__________
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                               CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing motion was served via email on Whitney Minter and
Todd Richman, counsel for defendant, on this the 2nd day of May, 2025.

                                    __/s/ Erik M. Kenerson___________________
                                    Erik M. Kenerson
                                    Assistant United States Attorney




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